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                "            Exhibit "F"
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                               "
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                             Exhibit "G"
                                     "F"
